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                         EXHIBIT B
            FORM NO. 10A                                                          BILL OF SALE (Body Corporate)

Official number          Name of Ship                                       Number, year and port of registry                         Whether a sailing, steam or        Horse power of engines (if
                                                                                                                                      motor ship                         any)

      9466582            "ADVANTAGE SPRING"                                 6308, 2010, Majuro                                         Motor Ship                        18,660 KW
                                                                                                                                                               Number of Tons
                                                                                                                Metres     Tenths      (where dual tonnages are assigned the higher of these should be
                                                                                                                                                                  stated)
Length from fore part of stern, to the aft side of the head of the stern post/fore side of the               266           07                       Gross                            Register
rudder stock
                                                                                                             48            00          83,805                           49,031
Main breadth to outside of plating

Depth in hold from tonnage deck to ceiling amidships                                                         23            70
                                                                                                                                                                                                         Case 1:20-cv-00293-MAC-ZJH




and as described in more detail in the Register Book
We, (a) Advantage Spring Shipping LLC (hereinafter called "the transferors") of Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro MH96960, Marshall Islands In consideration of the
sum of 30,825,000 United States Dollars paid to us by (b) Fleetscape Spring, LLC of Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro MH96960, Marshall Islands (hereinafter called
"the transferee(s)") the receipt whereof is hereby acknowledged, transfer all sixty four sixty fourths (64/64th) shares in the Ship above particularly described, and in her boats and appurtenances, to
the said transferee(s).

Further, we, the said transferors for ourselves and our successors covenant with the said transferee(s) and (c) their assigns, that we have power to transfer in manner aforesaid the premises
hereinbefore expressed to be transferred, and that the same are free from encumbrances (d) all mortgages, maritime liens, taxes or any other debts whatsoever.
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                                                                                                                                                                                                   Document 44-3




In witness whereof we have executed this bill of sale this   ¿■،-،·I')   day of   Pok/vouT-^                 2019

SIGNED andiDELIVERED as a DEED
by                             KnAVC                          ١‫دب‬
the duly authorised attorney-in-fact of
Advantage Spring Shipping LLC
under and pursuant to a Power of Attorney
dated the     . ‫^؛‬- day of
           24 3                                                2019
                                 ‫ل‬٠‫ل‬١٧0‫س‬،‫د‬
                                                                                                                                                                                                         Filed 08/14/20




in the presence of:




            (a) Name in full of the Body Corporate, (b) Full name(s) and address(es) of transferee(s) with their description In the case of Individuals, and adding "as
            joint owners" where such Is the case, (c) "his", "their" or "Its", (d) If any subsisting encumbrance add "save as appears by the registry of the said ship",
            (e) Signatures and description of witnesses i.e. Director, Secretary, etc. (as the case may be).
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                                            ACKNOWLEDGEMENT -



 LONDON                          )


                                 ) : ss :
 ENGLAND



                              /٤/'
        On this         ¥            day    of          2019^‫؛‬,   before me personally appeared

 Kivanc Kan an to me known, who being by me duly sworn, depose and say that he resides at
 42   Brook     Street.      London          W1K
                                         5DB that he is an Attorney-in-Fact of
                                        /^6-described in and who executed the foregoing
 instrument and he duly acknowledged^() me that the execution thereof was his act and deed.




          Yuliya Gavrylyuk
          Special Agent o١ the Marshall Islands
          International Registries (U K.١ Limited
          3rd Floor 42 Moorgate
          London EC2R 6EL. UK


            Special Agent                  pa
            Of the Republic of the Marshall Islands
